                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                                No. 17-CR-40-LRR

 vs.
                                                         REPORT AND
 DARRYL GERARD KINNARD,                               RECOMMENDATION

               Defendant.
                            ___________________________

         On August 17, 2017, the above-named defendant, Darryl Gerard Kinnard, by
consent (Doc. 22), appeared before the undersigned United States Magistrate Judge
pursuant to Federal Rule of Criminal Procedure 11, and entered a plea of guilty to Count
3 of the Indictment. (Doc. 3). After cautioning and examining defendant under oath
concerning each of the subjects mentioned in Rule 11, the Court determined that the
guilty plea was knowledgeable and voluntary, and the offense charged was supported by
an independent basis in fact containing each of the essential elements of the offense. The
Court therefore RECOMMENDS that the plea of guilty be accepted and defendant be
adjudged guilty.
         At the commencement of the Rule 11 proceeding, the Court placed defendant
under oath and advised defendant that if defendant answered any questions falsely,
defendant could be prosecuted for perjury or for making a false statement. The Court




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also advised defendant that in any such prosecution, the government could use against
defendant any statements made under oath.
       The Court asked a number of questions to ensure defendant’s mental capacity to
enter a plea. Defendant stated defendant’s full name, age, and the extent of schooling.
The Court inquired into defendant’s history of mental illness and addiction to narcotic
drugs. The Court further inquired into whether defendant was under the influence of any
drug, medication, or alcoholic beverage at the time of the plea hearing. From this
inquiry, the Court determined that defendant was not suffering from any mental disability
that would impair defendant’s ability to make a knowing, intelligent, and voluntary plea
of guilty to the charge.
       Defendant acknowledged that defendant had received a copies of the Indictment,
and had fully discussed the charge with defendant’s attorney.
       The Court determined that defendant was pleading guilty under a plea agreement
with the government. After confirming that a copy of the written plea agreement was in
front of defendant, the Court determined that defendant understood the terms of the plea
agreement. The Court summarized the plea agreement, and made certain defendant
understood its terms.
       The Court advised defendant that after the Court accepted defendant’s guilty plea,
he would have no right to withdraw the plea at a later date, even if the sentence imposed
was different from what defendant anticipated.
       The Court summarized the charges against defendant, and listed the elements of
the crime. The Court determined that defendant understood each and every element of
the crime and ascertained that there was a factual basis to satisfy each element.



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Defendant’s counsel confirmed that defendant understood each and every element of the
crime charged.
       The Court advised defendant of the consequences of pleading guilty, including,
the maximum fine, the maximum term of imprisonment, and the mandatory minimum
and maximum term of supervised release. Specifically, with respect to Count 3 of the
Indictment, the Court advised defendant that the maximum fine is $1,000,000; the
maximum term of imprisonment is 20 years; the mandatory minimum term of supervised
release is 3 years and the maximum period of supervised release is life. The Court also
advised defendant that the Court will impose a special assessment of $100.00. The
Defendant also was advised of the collateral consequences of a plea of guilty. The
Defendant acknowledged that he understood all of the above consequences.
       The Court explained supervised release to defendant, and advised defendant that a
term of supervised release would be imposed in addition to the sentence of imprisonment.
The Court advised defendant that the Court would impose conditions of supervised
release, and that if defendant were found to have violated a condition of supervised
release, then defendant’s term of supervised release could be revoked and defendant could
be required to serve in prison all or part of the term of supervised release without credit
for time previously served on supervised release.
       The Court also explained to defendant that the district judge would determine the
appropriate sentence at a sentencing hearing. Defendant confirmed understanding that
the Court would not determine the appropriate sentence until after the preparation of a
presentence report, which the parties would have the opportunity to challenge. Defendant
acknowledged understanding that the sentence imposed might be different from what



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defendant’s attorney may have estimated. The Court also advised defendant that both
defendant and the government would have the right to appeal the sentence. The Court
advised defendant that is no parole in the federal system.
       Defendant indicated that defendant had conferred fully and was satisfied with
defendant’s attorney. Defendant’s attorney indicated that there is a factual basis for the
guilty plea.
       The Court advised defendant of the right to plead not guilty and to have a jury
trial, including:
       1.      The right to assistance of counsel at every stage of the pretrial and trial
               proceedings;
       2.      The right to a speedy, public trial;
       3.      The right to have the case tried by a jury selected from a cross-section of
               the community;
       4.      That defendant would be presumed innocent at each stage of the
               proceedings, and would be found not guilty unless the government could
               prove each and every element of the offense beyond a reasonable doubt;
       5.      That the government could call witnesses into court, and defendant’s
               attorney would have the right to confront and cross-examine these
               witnesses;
       6.      That defendant would have the right to see and hear all witnesses presented
               at trial;
       7.      That defendant would have the right to subpoena defense witnesses to testify
               at the trial, and if defendant could not afford to pay the fees and costs of
               bringing these witnesses to court, then the government would be required
               to pay those fees and costs;
       8.      That defendant would have the privilege against self-incrimination; i.e.,
               defendant could choose to testify at trial, but need not do so, and if


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             defendant chose not to testify, then the Court would instruct the jury that
             defendant had a constitutional right not to testify;
      9.     That any verdict by the jury would have to be unanimous;
      10.    That defendant would have the right to appeal, and if defendant could not
             afford an attorney for the appeal, then the government would pay the costs
             of an attorney to prepare the appeal.
      The Court also advised defendant of the rights defendant would waive by entering
a plea of guilty. The Court advised defendant that if defendant pleaded guilty, there
would be no trial, defendant would waive all the trial rights just described, and defendant
would be adjudged guilty without any further proceedings except for sentencing.
      Defendant confirmed that defendant’s decision to plead guilty was voluntary and
was not the result of any promises, other than plea agreement promises; and defendant’s
decision to plead guilty was not the result of any threats, force, or anyone pressuring
defendant to plead guilty.
      Defendant confirmed that defendant still wished to plead guilty, and pleaded guilty
to Count 3 of the Indictment.
      The Court finds the following with respect to defendant’s guilty plea:
      1.     The guilty plea is voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and defendant is fully
             competent.
      2.     Defendant is aware of the mandatory minimum and maximum punishment.
      3.     Defendant knows and voluntarily waive defendant’s jury rights.
      4.     There is a factual basis for the plea.
      5.     Defendant is, in fact, guilty of the crime to which defendant pleaded guilty.




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       The Court advised defendant that a written presentence investigation report would
be prepared to assist the Court in sentencing. The Court advised defendant that defendant
would have an opportunity to read the presentence report before the sentencing hearing
and to object to the contents of the report, and defendant would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
       The Court advised defendant that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar defendant from
attacking this Court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept defendant’s plea of guilty.
       United States v. Cortez-Hernandez, 2016 WL 7174114 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); FED. R. CRIM. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this order is filed.


       DONE AND ENTERED at Cedar Rapids, Iowa, this 18th day of August, 2017.




                                           __________________________________
                                           C.J. Williams
                                           Chief United States Magistrate Judge
                                           Northern District of Iowa




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